           Case 2:20-cv-06448-GW-JEM Document 1-2 Filed 07/20/20 Page 1 of 3 Page ID #:419

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l~he .IS 44 civil cover sheet and the information contained herein neither replace nor supplement the tiling and service of pleadinbs or other papers as required by law, except as
provided by local rules of court. This form, approvod by the Judicial Conference of the United States in September 1974, is require) for the use of the Clerk of Court fur the
purpose of iniGalin~r the civil docket sheet (S6F, INSTRU('T/ONS ON N(S.1?PAGE OFTIi/S FORM)

I.(a) PLIINTIFFS                                                                                                        DEFEND~TS. ~ C~ ~EKS ~ Lt ✓l•1*CU Jnrfrs ~ Y~-vH`~'u ccL
 Lisa DougSass and those so situated; United States Government                                                         Google, Inc. reative Artists Agency; Warner Brothers; Universal
                                                                                                                       NBC; University of Southern California; State of California; University
                                                                                                                       of California B o T; World Bank; Los Angeles City College B of Trustes
   (b~ County of Residence of t~irst Listed Plaintiff                     LOS Al1geIBS COUflty                           County of Residence of First Listed Defendant                    52f1t8 C18f8
                                                                                     --                     —                                                                                      _ __
                                     (Y.~.A'CEPT IN U.S. PLAINTIFF CAS6'.S7                                                                             (lN U S PI,AIN7'lF(' C~ SES l)NLY)
                                                                                                                         NOTE.:    IN LAND CONDCMNATION CAS[iS. USE. T'HE LOCATION OF
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        ~C~   l~CtOnleys (Firm Nome,.lcldre,c.q and 7~e/ephunr Nunrhrr)                                                  Attorneys (!(h"nn,~~~r)
Lisa Douglass
PO Box 480913 ~-]U0 y$
Los Angeles, CA~i998 323-346-5175 lisa_douglass@icloud.com
11. BASIS OF JURISDICTION~rr~,~~P~,~, ~.r~~,,,o„~~~~,_,~o„mi                                            Ill. CITIZENSHIP OF PRINCIPAL PARTIESrt'i~~~~~~,~, .r"~,~o„~a,~.~~i~>~~r~~,~n~~~~
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L 'I
7          U.S. Government                    ~3     Federal Question                                                                         PTF          DF,F                                             PTF       DEF
              PlainLill                                 lU..ti, Gurc~rninen[ Nod a Porky                     Citizen of This Stafe              la( I       Cl    I     Incorporated or Principal Place       f"1 4    O 4
                                                                                                                                                                          of Business In This Stale

n 3        U.S Government                     O 4    Diversity                                               Citizen of Another Slate           O 2         O     _     Incorporated and Principal Place    1 ~      ~5
             Delend~nt                                 (7~rdii~u~e Ci~isnchlp a/Pcn~~fes in item ]//1                                                                      nlBusiness In Another Slate

                                                                                                             Citizen or Subject of a            fl 3        I'I   3     Foreign Nation                       Cl F    ~6
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~ V. Nl~T'URE nF SUET'~Plore on "l"" in Onr Rnr [hilr)                                                                                                       Click here fors Namrc of Suit[ , ~.~~ llesa~int~mis_
         NTRA'T                                  U                                                                   R        I        N                         ~.`. ;P'                      H'         Tl
 ~.~    I IU Insurance                           PERSONAL INJURY                  PERSONAL INJUNY            O (~5 Drug Related Seizuro             C~ 422 Appeal 2R USC I58       C1 375 Palse Claims Acl
 7
 1      130 Marine                           O 310 Airplane                   L7 3Gi Personal Injury -             of Property 31 USC ftR I         O 433 Withdrawal               O 376 Qui Tam (31 USC
'I 1    I i0 Miller Act                      rl 315 Airplane Product                  Product Liability      ❑ 690 Other                                   2R USC I>7                     3729(a))
 ~r'I   Id0 Negotiable Instrument                     Liability               O 367 Health Care/                                                                                   I7 400 Stale Re~pportionmenl
O       ISO Recovery of Overpayment          O 320 Assault, Libel &                  Pharniacwtical                                                                            ... C7 410 Antitrust
            & L:n tiirceineni of.fud~.menl            Slander                         Persuoal Injury                                              fl 820 Copyrights               O 430 Banks and Banking
'7      I51 Medicare Act                     Cl 330 Federal Nmployers'               Product Liability                                             O 830 Patent                    Cl 450 Crnnmerce
 O      152 Recovery of Defaui~ed                     Liability               O 3F~8 Asbestos Personal                                             O R15 patent - Abbreviotad      i7 460 Deportation
             Sludeni Loans                   f"1 340 Marine                            Injury Product                                                     New Drug Application     O 470 Racketeer Inlluenced end
            ([:xcludes Veteran+)             R 345 Marine Product                      Liability                                                   n 84U Trademark                        Cumipt Orgunizaiions
O       li}Recovery ofOverpaymenl                     Liability                  PN;RSONALPROPN;RTY          _                                                                 ..❑480ConsumerCredit
             of Veteran's I3enetits          O 350 Motor Vehicle              O ;70 Other Praud              O     71 U Fair Labor S~nndards       O 861 HIA (1395f~                      (I S USC 16R I ur 1690
~J      160 Stockholders' Suilo              O 355 MoWr Vehicle               O 371 Truth in I.euding                    Act                       O R63 BI3ck Lung ~92J)          O 4R> Telephone Consumer
O       190 Other Contract                           Product Liability        f'I }80 Other Personal         O     720 Labor/Management            O H(1 DIWC~DIWW (40S(g))                Protection Act
"7      19i Contract Product Liability       O 3G0 Ocher Personal                    Property Damage                     Relations                 O H64 SSID Title XVI            O 390 Cable/Snl TV'
1       196 Franchise                                Injury                   ❑ 3K> Property Damage          I'l   740 Railway Lnbor Acl           O ft65 RSI (405(gp              L7 850 Securiiie+lCommoditievi
                                             O J6? Personal Injury -                  Product I..iability    C7    751 Family llnd Medical                                                 ficchan~e
                                                     Medical Mal ractice                                                 Leave AcL                                                 O 890 Other Slaiuioq~ Actions
          ft~~L VROPER'f~'                        C~F'It, tiCGHTS               PRISONER Pt;1'11YONS .. ~          790 Other Labor Li~iga~ion        ,fEDER~L TAB SUITS            J R91 A ri~idwral Act,
-"1 310 land Condemnation                    X440 Other Civil Rights               Habeas Corpus:         O        791 L~,mployee Retiremen(       O H70 Taxes(U.S. PlainUf(       O R91 Lnviroiimental MaUcrs
 "I 1 ?30 Purecicnure                        O 441 Voting                      O 463 Alien Detainee                     Income Security Acl               or Defendan0             O R9~ Freedom of INbrmatiun
 "i 1 ?30 Rent I.eas'e & P.jectiuenL         11 442 Gmpluymenl                 C"I i 10 Motions to VUcate                                          O 871 IRS--Third Party                  Acl
   ~
   I 340 Tur(s to Land                       ~
                                             ~ qq3 Housing/                            Sentence                                                           ?G USC 7609              O S96 Arbitration
 !~ ~4i Tort Product Liability                       AceommoAations           f~ 530 General                                                                                       C1 899 Administrative Procedure
  17 290 All Other Real Property             {'I 445 Amer. w/Disabilities -    O 535 Death Penalty                     [IWTbYYGHa1T t~N                                                   AcUReview or Appeal of
                                                     Employment                    Other.                 ❑        4fi2 Naturalization Application                                        Agency Decision
                                             '7 44G Ame[. w/Drabililicv -      O 540 Mandamus &Other      O        465 O[hcr I~nmigralion                                          O 950 ConstiWlionelity of
                                                     Other                    ~ 550 Civil Rights                        Actions                                                            State Statutes
                                             O 44R Eduwfion                   (l 5>i prison Cundilion
                                                                              .7 S(0 Civil Deluinee -
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                                                                                       Confinement

V. U~~~i~':v /Plaer on .. 1,.. irr Ong lla-~~ Only)
           Original            "l
                               ~ 2 Removed from                   O 3         Remanded ftom             ~7 4 Reinstated or        O 5 Transferred from                  ~ ~    Multidistrict         fl H Mul[idistrict
           Proceeding              State Court                                Appellate Court                Reopened                 AnoUier District                         Litigation -                Litigation -
                                                                                                                                      /,q,ecihy                                Transfer                   Direct File
                                                  Cite the U.S. Civil Statute under which you are tiling1Da not cilejurisdicliaiau/statutes un/es..' drversi! 9:
                     18 U.S. Code §m91. Genocide : 18 U.S. Code §flit. Conspiracy against righ~s : 18 U.S. Code § 1591 Lynching
V1. CAUSE OF ACTION Bricfdescription of cause:
                     Retaliation for Whistleblowing for Unfair Employment practice; Unfair Torture; Art theft; Egg theft; Sterlization
V 11. REQUESTED IN                                L7~ CIIGCK IF THIS lS A CLASS ACTION                             DEMAND $                                           CHECK YE?S only if demanded in complaint

     COMPLAINT:   ~    UNDkiR RULF.23, F.R.C'v.P.                                                                    1,000,000,000,000.00                             J URY' DEMAND:             A~ Yes      r'INo

V111. RELATED CASES)
                     ~scE~insnn<~irnr.c~:
      IF ANY                              I UDGE TERRY GREEN                                                                                              DOCf:I?T NUMI3C:R              BC648115
D ATP                                                                            SIGNATURE OF ATTORN ~Y OP RECORD


FOR OFI•'ICE USE, ONLY

        RI?CF.IP"f n                   AMOUNT                                        APPLYING II~P                                     JUDGIi                                  MAG. JUDGI




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          Case 2:20-cv-06448-GW-JEM Document 1-2 Filed 07/20/20 Page 2 of 3 Page ID #:420
                                           UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                                CIVIL COVER SHEET

VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's Generel Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
                                                                  STATE CASE WAS PENDING IN THE COUNTY OF:                                   INITIAL DIVISION IN CACD IS:
from state court?
               Yes ~ No
                                                  Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                                Western
If "no,"skip to Question B. If "yes," check the
                                                ❑ Orange                                                                                                Southern
box to the right that applies, enter the
corresponding division in response to
                                                  Riverside or San Bernardino                                                                            Eastern
Question E, below,and continue from there. ❑


QUESTION B: Is the United States, or B.7• Do 50% or more of the defendants who reside in                      YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees,a   the district reside in Orange Co.?                                     ~ Enter "Southern" in response to Question E, below,and continue
PLAINTIFF in this action?                                                                                         from there.
                                                 check one ofthe boxes to the right    ~~
                    Yes ~ No                                                                                ~ NO. Continue to Question B.2.

                                                 6.2. Do 50% or more of the defendants who reside in          YES. Your case will initially be assigned to the Eastern Division.
If"no," skip to Question C. If "yes," answer     the district reside in Riverside and/or San Bernardino     ~ Enter "Eastern" in response to Question E, below,and continue
Question B.1, at right.                          Counties? (Consider the two counties together.)              from there.

                                                 check one ofthe boxes to the right    —►                         NO. Your case will initially be assigned to the Western Division.
                                                                                                                  Enter "Western" in response to Question E, below, and continue
                                                                                                                  from there.


QUESTION C: Is the United States, or C.1. Do 50% or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  district reside in Orange Co.?                          ~ Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                                         from there.
                                                 check one of the boxes to the right   ~~
                    Yes ~ No                                                                                ~ NO. Continue to Question C.2.

                                                 C.2. Do 50% or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer   district reside in Riverside and/or San Bernardino      ~ Enter "Eastern" in response to Question E, below, and continue
Question C.i, at right.                          Counties? (Consider the two counties together.)           from there.

                                                 checkone ofihe boxes to the right     ~~                         NO. Your case will initially be assigned to the Western Division.
                                                                                                                  Enter "Western" in response to Question E, below, and continue
                                                                                                                  from there.
                                                                                                             A.                           B.                         C.
                                                                                                                                   Riverside or San         Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants?                                                  Orange County                 Bernardino County         Santa Barbara, or San
                                                                                                                                                             Luis Obispo County

Indicate the locations) in which 50% or more of plaintiffs who reside in this district                      ~                            a
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the locations) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices                            ~                            ❑
apply.)

                 D.1. Is there at least one answer in Column A?                                             D.2. Is there at least one answer in Column B?
                                        Yes      '~ No                                                                          ~ Yes      .~ No

                    If "yes," your case will initially be assigned to the                                      If "yes," your case will initially be assigned to the

                                 SOUTHERN DIVISION.                                                                             EASTERN DIVISION.
     Enter "Southern" in response to Question E, below,and continue from there.                                Enter "Eastern" in response to Question E, below.

                          If"no," go to question D2 to the right.       ~~                                If"no," your case will be assigned to the WESTERN DIVISION.
                                                                                                              Enter "Western" in response to Question E, below.                  ,r


QUESTION E: Initial Division?                                                                                             INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, C, or D above: ~~                            I              ~~l           ~~~

QUESTION F: Northern Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                            ~ Yes                 No

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          Case 2:20-cv-06448-GW-JEM Document 1-2 Filed 07/20/20 Page 3 of 3 Page ID #:421
                                          UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                               CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                ~ NO                 ~ YES

        If yes, list case number(s):


IX(b). RELATED CASES: Is this case related (as defined below)to any civil or criminal cases) previously filed in this court?
                                                                                                                       ~     O                                   ~ YES

        If yes, list case number(s):



        Civil cases are related when they (check all that apply):

                   A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                   C. For other reasons would entail substantial duplication of labor if heard by differentjudges.

        Note: That cases may involve the same patent,trademark,or copyright is not, in itself, sufficient to deem cases related.



        A civil forfeiture case and a criminal case are related when they(check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                    labor if heard by differentjudges.


 X. SIGNATURE OF ATTORNEY
                                                                                                                                   DATE: ~ — ~Q — ,'Z..~
(ORSELF-REPRESENTED LITIGANT):

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required bylaw, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet(CV-071 A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits (Medicare) under Title 78, Part A,of the Social Security Act, as amended. Also,
        861                        HIA             include claims by hospitals, skilled nursing facilities, etc.,for certification as providers of services under the program.
                                                  (42 U.S.C. 1935FF(b))

        862                        BL              All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.(30 U.S.C.
                                                   923)
                                                   All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
        863                        DIWC            all claims filed for child's insurance benefits based on disability. (42 U.S.C.405 (g))

                                                   All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
        863                        DIWW
                                                   amended.(42 U.S.C.405(g))

                                                   All claims for supplemental security income payments based upon disability filed underTitle 16 of the Social Security Act,as
        864                       SSID             amended.


        865                        RSI             All claims for retirement(old age) and survivors benefits underTitle 2 of the Social Security Act,as amended.
                                                  (42 U.S.C.405 (g))




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